Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 1 of 53

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

EDREWEENE RAYMOND, PEDRO Docket No. 15-CV-6885 (LTS)

SERRANO, SANDY GONZALEZ, and
RITCHIE BAEZ, SECOND AMENDED
COMPLAINT
Plaintiffs,
-against-

THE CITY OF NEW YORK, WILLIAM
J. BRATTON, JAMES P. O’NEILL,
CHRISTOPHER McCORMACK, and
CONSTANTIN TSACHAS,

Defendants.

 

Plaintiffs, Edreweene Raymond, Pedro Serrano, Sandy Gonzalez and Ritchie
Baez, (hereinafter, “Plaintiffs”) by and through their attorneys, Nwokoro & Scola,
Esquires, allege the following upon information and belief, against the City of New York,
William J. Bratton (former Commissioner of Police of the City of New York), James P.
O’Neill, (former NYPD Chief of Department and current Police Commissioner),
Christopher McCormack (Inspector and Former Commanding Officer of the 40"
Precinct), and Constantin Tsachas (A Deputy Inspector and former Commanding Officer
of Transit District 32).

PRELIMINARY STATEMENT

1. This is an action for compensatory damages to redress the deprivation of rights,
which are secured to the plaintiffs by the 1°¢ Amendment, (depriving plaintiff of the right
of free expression by punishing and retaliating against the plaintiffs for complaining

about and speaking out against the quota) the 5", and 14" Amendments (depriving
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 2 of 53

plaintiffs of benefits without due process), and the 14° Amendment (depriving
plaintiff's of the equal protection of the laws by discriminating against the plaintiffs on
the basis of race and national origin) and for violations of the Civil Rights Act of 1866,
42 U.S.C. § 1981, 42 U.S.C. §1983, 42 U.S.C. §1985, the New York State Human Rights
Law, New York Executive Law §296; New York City Local Law 59 of 1986, as
amended by Local Rule 39 of 1991, §§8-101, et seq,;

2. Plaintiffs, Latino and African-American minority Police Officers employed by the
New York City Police Department, bring this action against the New York City Police
Department for violations of the 1‘, 5" and 14" amendments to the United States
Constitution, and for discrimination in their employment on the basis of race and national
origin which discrimination is in violation of 42 U.S.C. §1981, 42 U.S.C. § 1983, 42
U.S.C. § 1985, the New York State Human Rights Law, New York Executive Law §296
and New York City Local Law 59 of 1986 as amended by Local Rule 39 of 1991, §§ 8-
101, et seq.

3. Under the complex performance evaluation system applicable to the plaintiffs,
police officers can receive one of nine available rating scores from 1 to 5, as follows, 1.0,
1.5, 2.0, 2.5, 3.0, 3.5, 4.0, 4.5, 5.0, with 1 as the lowest and 5 as the highest possible
score. A score is further classified to fall into one of the following five catergories;
Extremely Competent, (EC) Highly Competent (HC), Competent (C), Low (L), and Very
Low (VL). A score of 4.5 and above is generally classified as extremely competent. A
score of 4.0 is generally classified as highly competent. A score of 3.0 or 3.5 isa passing
score and is generally classified as competent. Any score below 3.0 is a failing score. A

score of 2.5 or 2.0 is a failing grade and is generally classified as low.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 3 of 53

4. Annual performance ratings are important in that a rating of 4.0 or highly
competent is generally required, in addition to passing the requisite civil service
examination, for promotion to the next rank. Additionally, most specialized units within
the NYPD generally require a rating of 4.5 (Extremely Competent) or 4.0 (Highly
Competent) for incoming transferees. Transfers to specialized units within the NYPD are
desirable because such units offer more opportunities for overtime pay and premium pay.
Membership of such units also make it more likely that the police officer will be
considered for promotions in rank and for supervisory and administrative positions within
the same rank.

5. Annual performance ratings are also important because any rating below a 3.0 out
of 5.0 is a negative performance evaluation that makes the recipient a candidate for
placement into the probationary Performance Monitoring Program.

6. The Performance Program is a probationary program whereby police officers are
placed for disciplinary purposes when they are deemed by the department to have
engaged in a serious pattern of misconduct or have ongoing severe disciplinary problems
or when they have a negative performance evaluation.

7. There are three levels of performance monitoring, from the least serious to the
most serious, as follows: Level I, Level II and Level III which includes all those on
dismissal probation. The criteria for being placed on level I performance monitoring
includes the following: Getting three or more CCRB complaints in a one year period;
getting six of more CCRB complaints in the past five years; getting four or more
excessive force complaints in the last two years or five or more excessive force

complaints in the last four years; referral by competent authority such as the Integrity
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 4 of 53

Control Officer or the Commanding Officer; being on suspension or modified duty; and
being administratively transferred. The criteria for being placed on Level II performance
monitoring include; being the subject of three or more commenced lawsuits for police
action within a one year period or six or more commenced lawsuits within a five year
period; being the subject of one or more lawsuits for police action disposed for $100,000
or more within a one year period; being adjudged guilty of one set of departmental
charges and specifications for excessive force action within five years, or of two or more
substantiated civilian complaints within four years; serious misconduct resulting in a
penalty of twenty days or more; or if performance or behavior remain sub-standard after
one year of placement on Level I performance monitoring.

8. The criteria for being placed on Level III performance monitoring includes; being
placed in performance monitoring at the direction of the Special Monitoring Committee,
(made up of the First Deputy Commissioner, the Deputy Commissioners of Personnel,
Internal Affairs and the Department Advocate), or on the recommendation of a
Commanding Officer of a Precinct or Squad, or Borough Commander, and approval of
that recommendation by the Special Monitoring Committee; and being placed on
dismissal probation.

9. In practice, all it takes to have a police officer placed in the Performance
Monitoring Program is the recommendation of the Commanding Officer (C.O.) or the
Integrity Control Officer (I.C.O.).

10. Police officers placed on performance monitoring are denied certain benefits of
their employment as follows depending on the level of performance monitoring; they are

not permitted to work paid detail (a source of premium pay or additional income); they
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 5 of 53

are not permitted off duty employment; they are not permitted to work in the first platoon
(the first platoon refers to the shift which starts from 11:15 p.m. and ends at 7:50 a.m.,
which pays a night differential in addition to the regular salary); they are not permitted to
commence their tour later than 18:00 hours (this also means they can never get the night
differential pay (which is a source of additional income); They are not permitted to
perform anti-crime duties (which eliminates any chance of a transfer to a specialized unit
or any other favorable transfer). In addition, police officers on performance monitoring
can be suspended, placed on modified assignment, or terminated at the discretion of the
commissioner.

11. The lowest level of discipline applied to police officers such as the plaintiffs is
being written into the Minor Violations Log that is maintained in each Precinct or
Command. The log lists offenses that are not reported to the NYPD as a whole. A minor
offense might include, failure to report to an assignment on time or failure to abide by the
dress code.

12. The next level of discipline is the Command Discipline (CD). The CD may be
issued by any supervisory officer from the rank of Sergeant and above. The CD is
investigated and adjudicated solely by the Commanding Officer or her Executive Officer
(XO) and is usually resolved solely within the precinct or command. Ina typical precinct,
the rank of both the CO and the XO is Captain, or above.

13. The CD is used for minor infractions of NYPD rules and regulations that are not
deemed serious enough to require formal Charges and Specifications. The CO has
considerable discretion concerning the decision to issue a CD in connection with minor

infractions and can impose any range of penalties including issuing up to 5 days of
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 6 of 53

suspension, deducting vacation time, ordering a change of assignment, ordering a
transfer, limiting overtime, etc. In certain cases, (eg. Loss of one’s shield, loss of a
firearm, loss of NYPD property) disciplinary action is required, but there is discretion as
to whether a CD will be imposed or formal charges and specifications brought. If a CO
proposes a CD that exceeds what the officer involves believes is fair, the officer may
reject the proposed discipline, and the alleged offense is then forwarded to the NYPD’s
Advocate’s Office for an internal departmental hearing. There is great pressure on
officers to accept a CD at the command level, because the penalty can be much greater,
(up to and including termination) if the matter goes to the NYPD Advocate’s Office and
the Officer does not prevail at the subsequent hearing. In addition to receiving proposed
charges and specifications from precincts and commands, the NYPD Advocates Office
may receive them from the Internal Affairs Bureau (IAB) or other internal investigative
bodies.
14. | The NYPD Advocate’s Office investigates the charges sent to it, and a
determination is made as to whether to issue Charges and Specifications which are
prosecuted by an Assistant NYPD Advocate before a Trial Commissioner, an NYPD
official with the rank of Deputy Chief or Chief, who answers to the Commissioner of
Police.

JURISDICTION
15. Jurisdiction is conferred upon the Court pursuant to 28 U.S.C. §§ 1331 and 13343
(3) & (4) as this action seeks redress for the violation of plaintiffs civil rights. Plaintiffs

further invoke the Court’s supplemental jurisdiction, pursuant to 28 U.S.C. § 1367(a)
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 7 of 53

over any and all state law claims that are so related to the claims within the original
jurisdiction of the Court that they form part of the same case or controversy.

VENUE
16. Venue is proper in the United District Court for the Southern District of New
York pursuant to 28 U.S.C. §§ 1391 (b) and (c).

JURY DEMAND
17. Plaintiffs demand trial by jury in this action and on each and every one of their
claims.

PARTIES
18. Plaintiff Edreweene Raymond is an African American male Police Officer
employed by the NYPD who has been under supervisory pressure to comply with the
illegal quotas; has suffered negative employment consequences as a result of the failure
to meet the illegal quotas; has been racially discriminated against with respect to
performance evaluations, the performance monitoring program, and the administration of
discipline and punishment. Has expressed his opposition to the illegal quotas and has
been retaliated against in violation of his rights to free speech; and has been penalized for
reporting, opposing and complaining about the illegal quotas and its racially
discriminatory application against the minority community.
19. Plaintiff Pedro Serrano is a Hispanic male and a police officer employed by the
NYPD who has been under supervisory pressure to comply with the illegal quotas; has
suffered negative employment consequences as a result of the failure to meet the illegal
quota; has suffered racial discrimination with respect to performance evaluations, the

Performance Monitoring Program, and the administration of discipline and punishment;
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 8 of 53

Has expressed his opposition to the illegal quotas and has been retaliated against in
violation of his rights to free speech; and has been penalized for reporting and
complaining about the illegal quotas and its racially discriminatory application against
the minority community.

20. Plaintiff Sandy Gonzalez is a Hispanic male and a police officer employed by the
NYPD who has been under supervisory pressure to comply with the illegal quotas; has
suffered negative employment consequences as a result of the failure to meet the illegal
quota; has suffered racial discrimination with respect to performance evaluations, the
Performance Monitoring Program, and the administration of discipline and punishment;
has expressed his opposition to the illegal quotas and has been retaliated against in
violation of his rights to free speech; and has been penalized for reporting and
complaining about the illegal quotas and its racially discriminatory application against
the minority community

21. Plaintiff Ritchie Baez is a black male of Hispanic heritage and a police officer
employed by the NYPD who has been under supervisory pressure to comply with the
illegal quotas; has suffered racial discrimination with respect to performance evaluations,
the Performance Monitoring Program, and the administration of discipline and
punishment; has suffered negative employment consequences as a result of the failure to
meet the illegal quotas; has been penalized for reporting and complaining about the
illegal quotas and its racially discriminatory application against the minority community.
22. Defendant the City of New York (the City) is and was at all times relevant hereto,
a municipal corporation duly organized and existing under the laws of the State of New

York, exercising governmental authority. Defendant is an employer subject to Federal
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 9 of 53

Laws and to the New York State Human Rights Law and New York City Local Law.
Defendant City is a person for purposes of 42 U.S.C. §§ 1981 and 1985 and is and was
the employer of the named plaintiffs and prospective class members as well as the
individually named defendants, at all relevant times.

23. Defendant the City of New York contains within it, the New York City Police
Department (NYPD) which was and is a department, agency, bureau and /or subdivision
of the Defendant City. The New York City Police Department is and was at all times
relevant hereto, a local government agency of the City of New York and as a result
thereof, defendant City was or is the employer of all the individually named plaintiffs, the
prospective class members and the individual defendants herein.

24. Defendant William J. Bratton was the Police Commissioner for the City of New
York from January 2014 to September 2016. Defendant Bratton was an employee of the
City of New York and was the principal administrator of defendant NYPD. He was
responsible for the application of the NYPD’s enforcement and administrative polices
including its internal investigatory and disciplinary process. He was the final authority in
all disciplinary matters within the NYPD. Police Commissioner William J. Bratton knew
or should have known of the customs and practices described in this complaint, including
but not limited to the maintenance of the illegal quota system by the NYPD and its
racially discriminatory effect on the minority community and minority officers including
the plaintiffs and Commissioner Bratton condoned, ratified and/or authorized such
conduct. As police commissioner, he promoted Deputy Inspector McCormack from
Captain to Deputy Inspector and then to Inspector even though it had been demonstrated

that McCormack engaged in illegal behavior such as misclassifying felonies, racial
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 10 of 53

profiling and imposing a quota on police officers in his command. Commissioner Bratton
also promoted defendant Tsachas from Captain to Deputy Inspector and Commanding
Officer of Transit Borough Brooklyn, although it had been demonstrated that Tsachas
engaged in Illegal behavior such as officially instructing his surbordinates to target blacks
and latinos and imposing a quota on police officers under his command. Defendant
Bratton’s visit to the 40" precinct on July 20, 2015, and the statement he made regarding
the presence of an informer who had “dropped a dime” on the rest of the Department,
contributed to named plaintiff Sandy Gonzalez being persecuted as a “rat”.

25. Defendant James P. O’Neill was the NYPD’s Chief of Department and the
highest ranking non-civilian police uniformed police officer until September 2016, when
he became the Police Commissioner. Defendant O’Neill is an employee of the City of
New York. Upon information and belief, as the Chief of Department, he was in charge of
all NYPD operations answering only to the Police Commissioner and the Mayor, and as
Police Commissioner, he is responsible for the application of the NYPD’s enforcement
and administrative polices including its internal investigatory and disciplinary process.

He is the final authority in all disciplinary matters within the NYPD. Defendant O'Neill,
knew or should have known of the customs and practices described in this complaint,
including but not limited to the maintenance of the illegal quota system by the NYPD and
its racially discriminatory effect on the minority community and minority officers
including the plaintiffs and Chief ONeill condoned, ratified and/or authorized such
conduct. O’Neill’s visit to the 40" precinct in July 2015 and his implied condemnation of

officers who recorded other officers contributed to the persecution of plaintiffs Serrano
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 11 of 53

and Gonzalez and exposed them to the ridicule and hatred of their co-workers as
informers or ‘rats’.

26. Defendant Inspector Christopher McCormack was the Commanding Officer of
the 40" precinct of the NYPD from September 27, 2011 to May 2014, when he was
transferred out of the precinct, after it was widely reported in the media that he was
recorded pressuring a police officer to target young black males. Defendant McCormack
used threats, slurs, low evaluations, punitive transfers, punitive postings and command
disciplines to coerce black and latino police officers under his command to produce
illegal law enforcement quotas, and he punished black and latino officers more severely
and more often than the white officers under his command for failure to meet the quota
and any other disciplinary issue. After named plaintiff’s Gonzalez and Serrano
complained about his racially discriminatory conduct, he retaliated against them with
more punitive actions.

27. Inspector Constantin Tsachas was the Commanding Officer of Transit District 32
from June 2015 to June 2016. Defendant Tsachas illegally pressured named plaintiff
Raymond, and other police officers in his command to enforce illegal law enforcement
quotas, and punished them with low evaluations, punitive postings and punitive transfers
for failure to do so. He also punished minority officers more severely and more often than
the white officers in his command for failure to meet the quota and any other disciplinary
issue. After named plaintiff Raymond publicly and officially expressed his opposition to

the quota, Tsachas retaliated against him with more punitive actions.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 12 of 53

STATEMENT OF FACTS

28. Plaintiff Edreweene Raymond is a male black of Haitian origin. He became a
police officer with the NYPD in July 2008. From January 2009 to January 2016, he was
assigned to Transit District 32, located at 960 Carroll Street, Brooklyn, New York.

29. Asa rookie in 2008, during the initial assignment known a IMPACT, plaintiff
Raymond was taught that the primary motive is to get the highest possible number of
arrests and write the highest possible number of summons. If you wanted to have a
successful career in the NYPD, the motto is ‘arrest anyone for anything, then repeat the
process’. After about seven months in IMPACT, Raymond began to complain about
being asked to arrest people without regard for the circumstances. He asked his then
supervisor, Sergeant David Ferruzola, to be allowed to use more discretion. For this
request, he was punished by being posted to the Coney Island Summer detail in the
summer of 2010, an undesirable posting, used primarily as punishment. He was told that
he was being punished because he was low on law enforcement activity.

30. Plaintiff Raymond was then transferred to the midnight shift from that summer
until March 2012. While on the mid-night shift, he was constantly pressured to get more
arrests. He was told to arrest people for such trivial offenses as ‘sitting outstretched’. i.e.
taking up more than one seat on the subway. Homeless riders of the subway were the
demographic mostly affected by such minor offense arrests. His supervisor at the time,
Sergeant Marcia Whitely, constantly pressured him and other police officers to get more

and more of such arrests and keep their law enforcement activity numbers up.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 13 of 53

31. In March 2012, his then supervisors were replaced and new ones arrived. He
requested a transfer to the Truancy Unit, which is a Special Operations Unit within
Transit District 32. His request was granted and he was assigned to the Truancy Unit. The
Special Operations Lieutenant, Lt. Haziq Reid, observed that Raymond’s arrest numbers
were low and spoke to Raymond’s immediate Supervisor, Sergeant Scott Reiser of the
Truancy Unit, who then spoke to Raymond about it during a meeting circa April 2012.
Reiser stated “find out what everyone else is doing and do the same”. Six weeks after
being assigned to the Truancy Unit, Raymond was kicked out of the Truancy Unit by Lt.
Haziq Reid who told him, “if you get weekends off for being in a Special Unit, then you
have to bring in a lot more bodies”, Raymond was then transferred to the 3" platoon (the
shift that works from 3:00 p.m. to 11:35 p.m.) and was in the 3" platoon from May 2012
to January 2016.

32. The quota that all police officers in the Transit District 32 had to meet was at least
one arrest and five summonses every month. If you did not meet this quota, you will be
verbally reprimanded by you supervisors, given retaliatory assignments, denied requests
for leave, and denied opportunities to earn overtime. If you continued to not meet the
quota, you would receive sub-par evaluation ratings and then be placed on the
Performance Monitoring Program.

33. In October 2013, Raymond took the civil service examination for promotion to
the rank of sergeant, and passed with flying colors. He scored 93 out of 100 and was
ranked #8 out of 932 examinees. However, after the scores were released in June 2014,
Captain Natalie Maldonado, the Commanding Officer of Transit District 32, met with

Raymond’s immediate Supervisor, Sergeant Martin Campbell, and told Campbell that if
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 14 of 53

Raymond did not get his enforcement activity numbers up, he would not be promoted to
sergeant and he would be placed on performance monitoring.

34. In January 2014, Raymond received an evaluation score of 3.0 out of 5.0 for the
year 2013, from Sergeant Shannon Stapleton.

35. In March 2014, after meeting with Captain Oliver Pu-Folkes, Raymond was one
of the police officers chosen for an NYPD Re-engineering Initiative Focus Group.
Raymond was inspired by Captain Pu-Folkes to put his ideas regarding how to re-
engineer the department, in writing.

36. On July 23, 2014, Raymond wrote a letter addressed to the Commanding
Officer/Team Leader, Collaborative Initiatives “Other City Agencies” Re-Engineering
2014 Group, Captain Pu-Folkes, and Transit Bureau Chief, Joseph Fox. In that letter,
Raymond detailed how the commanding officer of Transit District 32, Captain
Maldonado, was putting pressure on supervisors to pressure police officers, including
Raymond, to increase their enforcement activity by making borderline arrests just to meet
an arrest target, rather than focusing on the legitimate goals of reducing crime, and
increasing public safety with respect to subway riders.

37. On November 22, 2014, Raymond met with Platoon Commander Lt. Victoria
Hayden, and he spoke out denouncing unlawful enforcement quotas that his supervisors
were imposing on him, which he felt unfairly targeted black and latino communities.

38. Immediately following that meeting, on November 27, 2014, Raymond had a
meeting with Sergeant Campbell where Campbell told Raymond that he had been ordered
by Lt. Hayden to lower Raymond’s evaluation score and assign him to a punitive post, in

retaliation for Raymond’s stance on the quota which Raymond had expressed to Lt.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 15 of 53

Hayden. Sergeant Campbell also stated that an honest assessment of Raymond’s
performance would result in an annual evaluation score of 4.0.

39. Since January 2015, Raymond has been receiving sub-par interim and annual
evaluation ratings of 2.5 out of 5.0. This is a negative score and means that Raymond can
be placed into the Performance Monitoring Program, which can eventually lead to
dismissal, and cannot be transferred to an elite or Special Unit. A transfer to a special unit
is desirable because it is an opportunity for premium pay and more overtime so it
effectively results in more income even without a promotion.

40. On January 7, 2015, Raymond requested leave to go to Washington, D.C. to
attend a presidential task force meeting on policing, to which he had been formally
invited. Platoon Commander Lt. Hayden denied this request, stating that she will not
authorize leave because Raymond is not making his numbers and therefore his
performance is below par.

41. On January 18, 2015, Raymond had a conversation with § gt. Campbell where
Campbell stated that he was being forced to issue a failing interim evaluation on
Raymond, by Captain Maldonado.

42. On January 18, 2015, Raymond received an interim evaluation score of 2.5 from
Cpt. Maldonado and Sgt. Campbell.

43. On January 21, 2015, Captain Maldonado ordered Sgt. Campbell to give
Raymond an annual evaluation rating of 2.5 out of 5.0 for the year 2014. Raymond
appealed this rating and it was never finalized. Soon after, Cpt. Maldonado was promoted
and transferred and Captain Constantin Tsachas was appointed the Commanding Officer

of Transit District 32.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 16 of 53

44. On August 3, 2015, Sgt. Campbell met with Raymond and his union
representative, Police Officer Gentry Smith. Campbell told Raymond that Captain
Tsachas had telephoned Campbell and given Campbell specific instructions on what to do
to guarantee that Raymond’s anticipated promotion to Sergeant would be cancelled. The
instruction given to Campbell by Tsachas was to give Raymond a 2.5 annual performance
rating for the 2014 calendar year.

45. On August 5, 2015, Captain Tsachas completed Raymond’s 2014 annual
evaluation and ordered Sgt. Campbell to give Raymond a score of 2.5 out of 5.0.
Raymond was then issued a failing annual evaluation score of 2.5 for the year 2014. This
was a sub-par rating and was unfairly issued by Captain Tsachas to sabotage Raymond’s
promotion to Sergeant and give him a negative performance rating that would allow
Tsachas to place Raymond on the performance monitoring program. Tsachas order to
Campbell to issue a negative rating to Raymond irrespective of Raymond’s actual
performance, was improper not only because, Tsachas improperly usurped the role of
Campbell as the direct supervisor who actually observed the performance, but also
because Tsachas did not supervise Raymond in the year 2014.

46.  Tsachas issuance of a 2.5 annual performance rating to Raymond for the year
2014, was an act of intentional racial discrimination and retaliation for Raymond’s
expressed opposition to the quota.

47. On August 19, 2015, in further retaliation, on the order of Cpt. Tsachas, Raymond
was issued an interim evaluation score of 2.0 out of 5.0 for his continuing opposition to

the quota.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 17 of 53

48. On September 2, 2015, Cpt. Tsachas further retaliated against Raymond by
ordering Sgt. Campbell to assign Raymond to a punitive post until Raymond stopped
resisting the quota. The punitive post was a fixed post at the Clark Street OMEGA booth.
Raymond was given that assignment for an unprecedented 11 out of 19 days that
Raymond worked in the month of August 2015. No other officer was assigned to that
booth for more than 5 days in a month.

49, On September 24, 2015, Cpt. Tsachas punished Raymond for not submitting a
vacation leave request in a timely manner. Two white police officers in exactly the same
position as Raymond who also failed to submit a vacation leave request, Officers Reddan
and Sawyer, were not similarly punished or even reprimanded in any way. Raymond,
however, was charged with a command discipline and was punished by having two days
and four hours of earned vacation time being taken from him by Cpt. Tsachas.

50. Captain Tsachas issuance of a CD to Raymond and the subsequent punishment
was an act of intentional racial discrimination and retaliation.

51. White police officer Michael Desrosiers who was assigned to Transit District 32,
and under Captain Tsachas command at the same time as Raymond, and had enforcement
activity numbers similar to or lower than Raymond’s also failed to meet the enforcement
activity quota, but unlike Raymond, Officer Desrosiers was never given a negative
performance evaluation or punished in any way.

52. On September 24, 2015, Captain Tsachas threatened Raymond by telling him that
he, Tsachas, will prevent Raymond’s anticipated promotion to sergeant if Raymond

continues to denounce the quota and fail to meet the quota.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 18 of 53

53. On October 15, 2015, Cpt. Tsachas threatened again to sabotage Raymond’s
anticipated promotion to Sergeant. Cpt. Tsachas carried out this threat.

54. On December 7, 2015, Raymond is summoned before a review board chaired by
Deputy Commissioner of Personnel Michael Julian, to discuss Raymond’s lack of
enforcement activity and possible promotion to Sergeant.

55. On December 10, 2015, Deputy Commissioner Michael Julian cancels
Raymond’s promotion to Sergeant yet endorses the promotion to Sergeant of white police
officer Shaun Tanner who is comparable to Raymond in that he was also called before
the review board. Officer Tanner was promoted while Raymond was not. The failure to
promote Raymond under the circumstances was an act of intentional racial discrimination
and retaliation.

56. Police officer Raymond was passed over for promotion three times, on December
17, 2015, January 28, 2016 and May gna 2016.

57. On January 2, 2016, Raymond is punitively transferred from Transit District 32 to
the 77" Precinct, by Deputy Commissioner Julian, in retaliation for denouncing the
quota.

58. Plaintiff Sandy Gonzalez, is a Hispanic male of Dominican Republic origin and a
police officer currently posted to the 40" Precinct of the NYPD, located at 257 Alexander
Avenue, Bronx, New York. P.O. Gonzalez joined the NYPD in 2002 and has been
assigned to the 40" Precinct, since March 2004.

59. In December 2013, Gonzalez was assigned to the Complaint Room of the 40"

Precinct. He received this temporary non-patrol assignment at that time for a two day
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 19 of 53

period because he was on limited duty as a result of a digestive illness. At the time, his
supervisor was Lt. Andrew Hatki, a white male.

60. Lt. Hatki was assigned to the 40" Precinct in June 2013. Soon after he arrived, he
told Gonzalez on various occasions that Gonzalez needed to bring up his enforcement
numbers and that the target was at least one arrest and twenty summons a month.
Gonzalez told Lt. Hatki that he was doing what he could do. Gonzalez explained to Lt.
Hatki that he was responding to calls, the radio was busy, and he was not slacking off in
any way. Lt. Hatki then explained to Gonzalez that keeping up his enforcement activity
numbers was something that Gonzalez had to do as a police officer, no matter the
circumstances. Lt. Hatki bluntly told Gonzalez that if he did not get more enforcement
activity, he would receive a low performance evaluation rating.

61. On December 30, 2013, while Gonzalez was assigned to take complaints, he took
a moment to call his five year old daughter who was celebrating her birthday on that day.
While Gonzalez was on the phone and in the presence of other officers and some
members of the public, Lt. Hatki addressed Gonzalez in a dis-respectful tone and stated,
“Sandy, get your ass of that chair and go to the desk”. Gonzalez obeyed but he was
highly offended by the manner in which Lt. Hatki addressed him.

62. Later on December 30, 2013, in a private discussion between Lt. Hatki and
Gonzalez, Hatki stated that Gonzalez was underperforming for the entire year of 2013
because he had not made enough arrests or written enough summons. Gonzalez explained
to Hatki that he could not write as many summons as Hatki desired because for two to

three days out of the work week, he was assigned to critical response or sent downtown
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 20 of 53

on counter terrorism patrols or on hospital watch posts, which usually involves just
standing and observing, and offers no opportunity to write summonses or make arrests.
63. On January 5, 2014, Lt. Hatki punished plaintiff Gonzalez for his low
enforcement activity numbers by separating him from his partner and assigning him to a
fixed solitary foot post. Prior to January 5, 2014, PO Gonzalez’s patrol partner was Police
Officer Jorge Gonzalez. At roll call on January 5, 2014, Lt. Hatki announced that he was
separating plaintiff Gonzalez from his partner, and withdrawing him from his regular
patrol assignment. Instead, Lt. Hatki assigned plaintiff Gonzalez to a fixed solitary foot
post at the intersection of Third Avenue and 138" Street, in the Bronx. The weather
condition was bad on that day. There was an ongoing blizzard. The pavement was icy and
the ground was slushy due to a mixture of snow and rain that fell throughout the day.

103. Plaintiff Gonzalez’s separation from his partner was an act of punishment because
ordinarily established patrol partners are not separated unless it is un-avoidable. Also, Lt.
Hatki told Gonzalez that his intention in separating the partners was to punish Gonzalez
for not producing enough summons and arrests. Lt. Hatki also told PO J orge Gonzalez
that the reason for the separation was so that PO Jorge Gonzalez would not suffer from
collateral damage while working with plaintiff Gonzalez. In other words, Lt. Hatki stated
that he did not want PO Jorge Gonzalez to suffer or experience punishment specifically
meant for PO Sandy Gonzalez.

64. Plaintiff's Gonzalez’s assignment to a fixed foot post especially in bad weather,
was an act of punishment because there is no necessity for a constant police presence at
that spot during a blizzard. Additionally, Lt. Hatki told Gonzalez that his intention in

assigning Gonzalez to the foot post was to punish him for not producing enough
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 21 of 53

summons. Being assigned singly to an unnecessary fixed post, especially during bad
weather, is a well-recognized punitive assignment in the 40" Precinct. The previous
commander of the 40" Precinct, John Nicholson, once wrote a threatening note that was
handed to plaintiff Gonzalez, which basically stated that under performing officers get
assigned to a fixed foot post in the rain and snow.

65. On January 5, 2014, while at his assigned fixed post, as he was walking around
stamping his feet and trying to get warm, plaintiff Gonzalez slipped and fell and was
injured. With the permission of Sergeant Quinones, his then direct supervisor, he was
taken to Jacobi Hospital for treatment.

66. Following this incident, Lt. Hatki accused officer Gonzalez of having pretended
to fall and initiated an investigation into this alleged misconduct. Upon information and
belief, Lt. Hatki personally conducted this investigation by reviewing surveillance camera
footage from the area of the fixed foot post.

67. In January 2014, plaintiff Gonzalez was informed by Lt. Hatki that his annual
performance evaluation rating for the year 2013 was 2.5 out of 5. 2.5 is a negative
evaluation rating and put officer Gonzalez at the risk of being placed on the performance
monitoring program. Such a low rating was unfair and not based on Officer Gonzalez’s
actual performance.

68. It was racially discriminatory for Lt. Hatki to give Gonzalez a negative
performance evaluation rating based on his enforcement activity numbers because white
police officers in the same command, unit, squad and shift as the plaintiff, with equal or

lower enforcement activity numbers, received annual performance evaluation ratings
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 22 of 53

higher than 2.5 for the same annual rating period. Some of those white officers are Police
Officers, Moynihan, Sontag, Calandra, Lebrini and Warkenthen.

69. _ Plaintiff Gonzalez appealed the annual performance evaluation score of 2.5 given
to him by Lt. Hatki. On February 4, 2014, Gonzalez met with the Commander of the 40"
Precinct, Deputy Inspector Chrisopher McCormack, a white male, to appeal the negative
rating. Lt. Batelli was also present at the meeting. During this meeting, both senior
officers yelled at Gonzalez for not meeting the targeted number of arrests and summons,
and threatened to place him on the performance monitoring program. DI McCormack
denied the appeal and upheld the negative performance rating score. Plaintiff Gonzalez
then appealed that determination to the Bronx Borough Command level and that appeal
was also denied.

70. On February 6, 2014, plaintiff Gonzalez made a written complaint to the NYPD’s
Internal Affairs Bureau (IAB) and simultaneously to the federal Equal Employment
Opportunity Commission (EEOC). The complaint detailed three categories of violations
within the 40" Precinct, all of which involved Gonzalez, as follows; enforcement of an
illegal quota; the misclassification of offences and downgrading of felonies; and racial
discrimination against minorities by virtue of a hostile work environment. The offenders
were primarily, DI Christopher McCormack, and Lt. Andrew Hatki, Gonzalez’s platoon
commander. In the complaint, Gonzalez stated that he was being racially discriminated
against as a Latino male by being forced to work in a hostile environment by Lt. Hatki.
Gonzalez also complained that Lt. Hatki and DI McCormack were forcing him and other
police officers to meet a quota of at least 1 arrest and 20 summonses a month and

punishing him when he failed to reach that target. Gonzalez also detailed how DI
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 23 of 53

McCormack was ordering Gonzalez and other police officers to mis-classify offenses and
downgrade felonies.

71. Asaresult of this complaint, the IAB and the EEOC began investigations into the
allegations made in Gonzalez’s written complaint aforesaid.

72. Upon information and belief, DI McCormack and Lt. Hatki both believed that
Gonzalez was the source of the investigations.

73. On March 28, 2014, Gonzalez was interviewed by the IAB over the allegations
made in the complaint. Rather than an investigation into the allegations, the interview
turned into an investigation of Gonzalez’s law enforcement activity. The interviewing
officer, a Captain Benjamin, questioned Gonzalez closely regarding his enforcement
activity record.

74. ‘In April 2014, in retaliation for his complaint, DI McCormack placed Gonzalez in
the performance monitoring program. The performance monitoring program put officer
Gonzalez on a probationary status where he was no longer entitled to the full benefits of
his employment, and could be terminated.

75. In December 2014, Gonzalez applied for a transfer to the City wide Task Force
but was denied because of his negative (2.5) annual performance evaluation score for the
2013 annual period, and the fact that he was on the performance monitoring program.

76. In May 2015, while Gonzalez was on assigned duty at Lincoln Hospital, he was
approached by a Supervisor, Sergeant Tameika Goode, who, in the presence of her
driver, Police Officer Michael Gallow, accused Gonzalez of tape recording his
conversations with her. Upon information and belief, this accusation was based on

information Sgt. Goode had received from DI McCormack and Lt. Hatki who had told
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 24 of 53

Goode and other co-workers of plaintiff Gonzalez, that Gonzalez was “a rat” and was
recording everyone in the precinct.

77. ‘In July 2015, it was widely reported in the media, including the Daily News of
July 17, 2015, that an NYPD internal investigation had revealed multiple cases of
downgrading of felonies in the 40" Precinct. As a result of the Investigation, nineteen
police and ranked officers in the 40" Precinct were charged with misconduct and faced
disciplinary proceedings. Those 19 members of the force were transferred out of the 40"
Precinct.

78. On or about July 20, 2015, then Police Commissioner William Bratton visited the
precinct in the wake of the felony misclassification scandal. On this visit, Commissioner
Bratton addressed an extraordinary roll call that included all platoons including midnights
and all day tours. During this roll call, Commissioner Bratton stated to the entire precinct
that a disgruntled officer among them had dropped the dime on the entire precinct. It was
understood that plaintiff Gonzalez was the officer that the Commissioner was referring
to, because of the complaint that Gonzalez had made in F. ebruary 2014, which appeared
to have started the initial investigation. Upon information and belief, DI McCormack had
stated to multiple members of the 40" Precinct that Gonzalez was recording their
conversations and had leaked the story to the media.

79. At the roll call on July 20, 2015, then Chief of Department, and current
Commissioner of Police, James O’Neill, who was also present, asked if anyone was
recording the roll call. No one responded. Sergeant Tameika Goode, was also present at

this roll call.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 25 of 53

80. From July 2015, Sgt. Goode, under instructions from Lt. Hatki, now the
Administrative head of the Precinct, only assigned Gonzalez an average of 5 to 8 patrols
days per month. This ensured that Gonzalez would never be able to meet the monthly
quota of summons or arrests and thus would be in a position of chronically
underperforming with respect to his enforcement activity numbers. Instead, Gonzalez was
assigned to non-patrol tasks such as escorting hospitalized prisoners, prisoner transport
and critical response vehicles.

81. On August 3, 2015, Sgt. Goode, under instructions from Lt. Hatki, in further
retaliation, issued Gonzalez with an underserved minor violation for not being on his
assigned post at Station House Security, when in fact, Gonzalez had left the post briefly
with permission, in order to write a written report for Sergeant Goode regarding an earlier
assignment.

82. In further retaliation for his complaints, on August 22, 2015, Gonzalez was issued
a command discipline by Sgt. Goode under instructions from Lt. Hatki, for allegedly
recording Sergeant Goode with a cell phone. Plaintiff Gonzalez was improperly found
guilty of this charge by Lt. Hatki with no adjudication and without being given a chance
to defend himself.

83. On or about August 26, 2015, during roll call, as Gonzalez and other officers
waited for their assignments to be announced, Desk Officer Sgt. Goode, speaking to the
entire platoon, stated that Gonzalez was not to be trusted because he was videotaping and
recording everyone at the precinct. Gonzalez was immediately and severely affected by
this announcement and he experienced a cardiac episode, and fainted. Gonzalez was

taken by ambulance to the New York and Presbyterian Hospital for emergency medical
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 26 of 53

treatment and was admitted with chest pains and loss of consciousness. He was
discharged the next day.

84. In further retaliation, Lt. Hatki denied Gonzalez line of duty designation for his
cardiac injury and upon information and belief, destroyed and or failed to properly file an
AIDED card regarding the incident, in order to support his improper denial of line of duty
designation for the injury.

85. Gonzalez’s cardiac injury happened during roll call and an AIDED card was
prepared by Police Officer Encarnacion. This AIDED card was hand delivered by PO
Encarnacion to Lt. Hatki but was never filed and has disappeared from the record. As a
consequence of denial of line of duty designation, neither officer Gonzalez’s medical
insurance, or the NYPD, paid for his medical bills from the cardiac injury which was
approximately $10,000 (ten thousand dollars). Gonzalez was denied line of duty
designation for the incident and denied authorization to see a cardiologist as part of line
of duty medical treatment.

86. | The AIDED card that was suppressed by Lt. Hatki in order to retaliate against
Gonzalez stated in sum that Gonzalez fainted as a result of Sgt. Goode’s comments
during roll call.

87. On September 7, 2015, Gonzalez wrote to the [AB and the OEEO complaining
about the intensified retaliation that he was experiencing including the incidents at roll
call.

88. On October 10, 2015, in further retaliation, Gonzalez was issued with another

Command Discipline also for allegedly recording Sgt. Tameika Goode.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 27 of 53

89. On November 25, 2015, Gonzalez was found guilty of having recorded Set.
Goode on August 22, 2015, with no adjudication or investigation. Although Gonzalez
tried to appeal this determination, he was never given the opportunity to do so.

90. On November 27, 2015, in further retaliation, Gonzalez was unfairly issued with
two minor violations for having a cap device that did not march his shield, and for a
defective holster. Captain Girven put Gonzalez on the minor violations log for both
violations because Gonzalez was a target for punishment by the leadership of the
precinct, and had been labeled a ‘rat’.

91. Plaintiff Ritchie Baez is a Latin American male originally from the Dominican
Republic. He joined the NYPD in the rank of police officer in July 2004, and was
assigned to the 40" precinct, in January 2005.

92. In the 40" Precinct, since January 2013, police officers such as Ritchie Baez are
required to meet an enforcement activity target of at least 1 arrest and 20 summons, per
month. Failure to meet this quota resulted in a low evaluation, assignment to punitive
posts such as fixed foot posts, and placement in the Performance Monitoring Program,
which could lead to dismissal.

93. In the 40" Precinct, although the enforcement activity target or quota, every
month, was the same for all police officers, black and latino police officers such as
Ritichie Baez received punishment for low numbers while white police officers in the
same squad with similar numbers or even worse numbers did not receive the same
punishment.

94. In January 2014, plaintiff Baez was issued an unfair performance evaluation

rating of 2.5 out of 5.0 for the 2013 annual rating period by DI Christopher McCormack,
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 28 of 53

the Commanding Officer of the 40" Precinct. 2.5 is a negative performance score that
exposed Baez to placement into the performance monitoring program.

95. It was racially discriminatory and unfair for DI McCormack to award Baez a
negative performance rating for the year 2013, because in that year, Baez’s actual
performance as a police officer merited a score of at least 4.0.

96. It was racially discriminatory and unfair for DI McCormack to award Baez a
negative performance rating for not meeting the quota, because comparatively placed
white police officers in the same unit, with similar activity numbers for the same period,
including police officers Andrew Pellegrino, Keith Moynihan, Sontag, Calandra, Lebrini
and Warkenthen, did not get the same punishment. The white police officers received
higher annual performance evaluation scores of 3.5 and above, and were not placed on
performance monitoring.

97. Plaintiff Baez appealed the 2.5 rating. On January 27, 2014, Baez was called to
the office of DI McCormack to adjudicate the appeal. Lt. Batelli was also present at this
meeting. Plaintiff Baez explained to the two superior officers that in the year 2013, he
had actually done excellent police work as detailed in the following paragraph, and
expected a higher performance evaluation score.

98. In the year 2013, plaintiff Ritchie Baez performed great police work in three
instances; In May 2013, Officer Baez assisted a citizen of Spanish descent whose car had
been stolen. Officer Baez used his knowledge of Spanish to interview the victim and
realizing that time was of the essence, quickly performed a canvass of the immediate
neighborhood for the missing vehicle with the result that he immediately found the stolen

vehicle and arrested the perpetrator who was charged with Grand Larceny Auto; in
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 29 of 53

October 2013, Officer Baez was helping Housing police provide crowd control duties at
152™ Street, when he recognized a face in the crowd as an accused robber from a wanted
poster. During the robbery, the suspect was accused of slashing her victim several times
in the face. Acting quickly, Officer Baez promptly apprehended and arrested the suspect;
The same year, Officer Baez was assisting a Special Operations Unit during an
automobile stop. He observed an individual being interrogated by the Sergeant of the
Special Operations Unit. Officer Baez realized that he had seen this individual on a
wanted poster as a known gang member being sought by the police. When the individual
gave a fictitious name to the Sergeant, Officer Baez alerted the Sergeant and was proven
correct by a check of the NYPD records, leading to the arrest of the wanted individual.
Despite the above, Plaintiff Baez was given a low performance evaluation in 2013
because his arrest and summons numbers did not meet the quota.

99, DI McCormack was not swayed by Baez’s explanation and denied the appeal.
McCormack stated that Baez could write 500 criminal court summons per day on East
138" Street, if he really wanted to. McCormack told Baez that the reason he received a
negative evaluation was because he had not written enough criminal court summons.
100. On March 31, 2014, plaintiff Baez was placed in the Performance Monitoring
Program by DI McCormack due to his negative performance rating.

101. It was racially discriminatory for DI McCormack to place police officer Baez in
the performance monitoring program for negative performance because white police
officers such as Police Officers, Pellegrino, Moynihan, Sontag, Calandra, Lebrini and
Warkenthen, whose performance was at the same level or worse than Baez, were not

placed into the performance monitoring program.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 30 of 53

102. Plaintiff Pedro Serrano is a Latino male originally from the commonwealth of
Puerto Rico. He was hired by the NYPD as a police officer in 2004 and assigned to the
40" Precinct the same year.

103. Plaintiff Serrano experienced first hand the negative effect of the quotas imposed
by his supervisors on the minority community where he patrolled in the South Bronx. For
his failure to meet the quota, he received a negative performance evaluation. One of his
supervisors Executive Officer Materasso, told him that in order for him to get a better
evaluation, he must arrest, summon and stop and frisk more people. Plaintiff Serrano
explained to Officer Materasso, the deputy commandant of the 40" precint, that the
residents of the 40" precint are predominantly low income and that he did not feel right
about giving them spurious summons. She disagreed and referred to the residents of the
40" precint as “animals”. Plaintiff Serrano, of Puerto Rican origin similar to many
residents of the South Bronx, was deeply offended.

104. Asa police officer in the 40" precinct, Officer Serrano was constantly pressured
by all his supervisors to produce at least 20 summons, 1 arrest, and 5 stop and frisks, a
month. If he failed to meet this target, he would be punished with low performance
evaluations, punitive foot posts and forced assignment of arrests. An assignment of arrest
happens when a superior officer would take a police officer along on patrol, identify a
vagrant or homeless person, and order the police officer to arrest that person
immediately.

105. Deputy Inspector Christopher McCormack, the Commanding Officer of the 40"
Precinct from September 2011, and Captain Martine Materasso, an Executive Officer of

the 40" Precinct in the years, 2011, 2012 and 2013, were the supervisors who constantly
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 31 of 53

put pressure on Serrano to meet the quota and punished him, if he failed to make the
quota.

106. On January 7, 2012, Serrano met with Captain Materasso to discuss his annual
performance evaluation for the year 2011. Cpt. Materasso had scored Serrano a 3.0 out of
5.0 and Serrano felt that it was unfair, and appealed it. During this meeting, Materasso
told Serrano that the reason he received a low evaluation was because his enforcement
activity was too low, specifically, because he did not write enough summons and didn’t
get enough stop and frisks. Serrano attempted to explain to Cpt. Materasso that it was
unreasonable to expect him to get the targeted number of summons and stop and frisks no
matter the circumstances and that it constituted a quota. Captain Materasso responded by
stating that she can do what she wants and threatened Serrano that if he does not get the
required number of summons, he will receive an even lower performance evaluation
score.

107. In the spring of 2012, while driving by Beekman Avenue and East 141 Street, in
the presence of police officer Serrano, and his partner, Police Officer Chae, DI
McCormack saw a black male standing against a wall. DI McCormack got out of his car,
walked up to the black male and accosted him. He opened the man’s zipper, pulled down
the man’s pants and exposed the man’s penis. He then grabbed the man’s penis and
passed his hands between the man’s butt cheeks. DI McCormack then pulled out some
narcotics and gave it to his driver. Serrano was deeply offended by his Commander’s
conduct and resolved to report it.

108. On or about June 1, 2012, plaintiff Serrano wrote a written complaint to the

United States Office of Equal Employment Opportunity, (EEOC), which was also
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 32 of 53

referred to the NYPD’s Office of Equal Employment Opportunity (OEEO), by the
EEOC. In that complaint, Serrano stated that DI McCormack and Captain Materasso
were discriminating against him as a Latino by forcing him to work in a racially hostile
environment. Serrano also detailed that how DI McCormack and Capt. Materasso were
forcing him and other police officers to downgrade felonies, and also that they compelled
Serrano and other police officers to meet a quota of law enforcement actions every
month. Serrano also contacted the New York Civil Liberties Union and gave them a
summary of the complaint. Finally, Serrano at the same time made similar complaints in
writing several times to his Union (PBA) delegate.

109. Upon information and belief, DI McCormack and Capt. Materasso became aware
of Serrano’s complaints against them on or about February 7, 2013, ata COMSTAT
meeting. Immediately upon their return from this meeting, at a roll call on February 7,
2013, DI McCormack stated, “some people in this roll call are afraid of work and the tail
is wagging the dog instead of the dog wagging the tail”.

110. Upon his return from the COMSTAT meeting aforesaid, DI McCormack
commenced a series of retaliatory action against Officer Serrano. On February 7, 2013,
was taken of his usual patrol assignment and assigned to a solitary fixed foot post at 339
Exterior Avenue. While Serrano was at that post, that same night, at various times, five
different supervisors came to inspect him and make sure that he was at the post and sign
his memo book including Sgt. Monroe, Lt. Mack, Capt. Materasso, DI McCormack and
the Administrative Lieutenant. This is highly unusual and an indication that the object of
the post is punishment. While at the post, he was visited by Sergeant Monroe who

ordered him to return briefly to the precinct and bring Capt. Materasso a copy of his
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 33 of 53

memo book. After he returned to his post, both DI McCormack and Cpt. Materasso
approached him and observed him from an unmarked vehicle for a period of time. It is an
extra ordinary event for the Commander of a Precinct to visit a solitary police officer at a
fixed post in order to sign his memo book. The five inspections were intended to convey
a threat to Serrano that he would be under increased scrutiny and would be punished for
minor or pretextual infractions.

111. In further retaliation, beginning February 7, 2013, DI McCormack punished
Serrano by sending him outside the precinct on details. That week, Serrano returned from
from his posting one day to find that his locker had been ransacked and someone had
pasted rat stickers on his locker.

112. In further retaliation, in February 7, 2013, Serrano was denied leave even though
he requested days off in the usual manner.

113. In February 2013, Cpt. Materasso gave plaintiff Serrano a performance evaluation
score of 3.0 out of 5.0 for the 2012 annual period.

114. It was unfair and racially discriminatory for Cpt. Materasso to give Serrano a
performance evaluation score of 3.0 for 2012, because by any objective basis, Serrano
deserved a score of at least 4.0 or above for that year. In the year 2010, prior to falling
under Materasso’s command, Serrano had a total of 8 arrests, 10 criminal court (C)
summons, multiple moving (B) summons, multiple parking (A) summons, and several
stop and frisks (250’s), and he received a passing grade of 4.0 on the annual performance
evaluation for that year. In the year 2011, Serrano had a total of 5 arrests, 2 C summons,
multiple B and C summons, and three 250’s and he received an annual performance

evaluation rating of 3.0 from Cpt. Materasso. For the year 2012, Serrano had 8 arrests,
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 34 of 53

and approximately double the number of C, B, and A summons and 250’s from the
previous year, and still received an annual performance rating of 3.0 from Cpt.
Materasso.

115. The evaluation score of 3.0 for the 2012 annual period was racially discriminatory
because, in 2012, three white police officers who had the same as, Similar to, or worse
enforcement activity numbers than Serrano, all received annual evaluation scores of 4.0
or better. Two of those white police officers were Police Officers Sontag and Moynihan.
116. Plaintiff Serrano appealed his 2012 annual evaluation score. In February 2013, he
met with DI McCormack to adjudicate the appeal. DI McCormack told Serrano that
Serrano did not stop enough black people. McCormack also told Serrano that in his
opinion, Serrano purposely failed to write stop and frisks and didn’t stop the right people
at the right place and at the right time. According to McCormack, the right people were
men of color between the ages of 14 and 21 years old. McCormack told Serrano that if he
sees a crowd of people in front of a deli or building, he should stop and frisk them.
Serrano explained that in order for him to properly stop and frisk the hypothetical people
in front of the deli, they would have to be suspected of some penal law misdemeanor or
felony rather than mere suspicion of blocking traffic, which is neither. McCormack
disagreed. McCormack insisted that if Serrano asks a crowd of people to disperse, that
amounted to a stop and frisk and Serrano should then write 250’s for the stop and frisks.
117. DI McCormack was upset that Serrano disagreed with him on this issue. He
yelled at Serrano and stated that Serrano did not know how to do his job. He also ordered
the Administrative Lieutenant to send Serrano on stop and frisk training. He did not allow

Serrano an opportunity to address other issues raised on the appeal. He basically just
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 35 of 53

interrogated Serrano about stop and frisks. During this meeting, McCormack told Serrano
that he was aware of Serrano’s EEOC/OEEO complaint.

118. Shortly after meeting with DI McCormack to adjudicate the appeal, Sergeant
Gomez, on McCormack’s orders, seized Serrano’s memo book and Serrano was escorted
by they Integrity Control Officer (ICO) from the meeting to his locker where his locker
was searched by the ICO, a Lieutenant.

119. In February 2013, Serrano had a discussion with DI McCormack where DI
McCormack threatened Serrano by stating that he knew that Serrano was slated to testify
in the ongoing Floyd (stop and frisk federal civil rights) law suit and swore that if Serrano
testified, McCormack would go through Serrano’s memo book and issue a command
discipline for every mistake that Serrano made in his memo book.

120. On March 20 and March 21, 2013, Officer Serrano testified in the trial of the
Floyd action. The substance of his testimony was that he was compelled to racially
profile blacks and latinos by his supervisors including DI McCormack and Capt.
Materasso.

121. Approximately one month later, on or about April 5, 2013, Serrano was abpruptly
transferred out of the 40™ Precinct without warning, and sent to the 33" Precinct. Serrano
was on vacation when the transfer was announced. He had been in the 40" Precinct for
nine years previous to the transfer and that was his home in the NYPD. Serrano had not
requested a transfer. The only purpose of the transfer was to punish Serrano.

122. At the 33" Precinct, Serrano was assigned to the day tour rather than the midnight
tour which was his tour in the 40" Precinct, therefore, he lost his night differential pay

which amounted to about $5,000.00 annually.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 36 of 53

1** Cause of Action: Edreweene Raymond against Constantin Tsachas
for Discrimination in Violation of The Civil Rights Act of 1866;The

14 Amendment to the United States Constitution; 42 U.S.C. Section
1981; 42 U.S.C. Section 1983 and 42 U.S.C. Section 1985

123. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

124. By unfairly subjecting Raymond to command discipline for untimely submission
of a vacation request while two white officers were not disciplined for the same offense
and for subjection Raymond to unfair command discipline for failure to meet the
enforcement activity quota while a white officer with the same or a lower level of quota
compliance was not punished in any way, defendant Tsachas purposefully and
intentionally discriminated against Raymond on the basis of race and national origin, and
thus violated the rights of Plaintiff Edreweene Raymond under the equal protection
clause of the 14'" Amendment and under 42 U.S.C. Section 1981, to be free from racial
discrimination.

125. As arresult of this violation, plaintiff's Edreween Raymond is entitled to

compensatory damages, punitive damages, and an award of attorney's fees.

2"! Cause of Action: Edreweene Raymond against Constantin Tsachas
for Discrimination in Violation of The New York States human rights

law

126. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

127. By unfairly subjecting Raymond to command discipline for untimely submission
of a vacation request while two white officers were not disciplined for the same offense

and for subjection Raymond to unfair command discipline for failure to meet the
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 37 of 53

enforcement activity quota while a white officer with the same or a lower level of quota
compliance was not punished in any way, defendant Tsachas purposefully and
intentionally discriminated against Raymond on the basis of race and national origin, and
thus defendant Tsachas violated the rights of plaintiff Raymond under New York State’s
Human Rights Law to be free from racial discrimination.

128. Asa result of this violation, plaintiff Raymond is entitled to compensatory

damages, punitive damages and an award of attorney’s fees.

374 Cause of Action: Raymond against Tsachas for
discrimination in violation of New York City’s Human Rights Law,

Local Law 59 of 1986, as amended by Local Rule 39 of 1991, §§ 8-101,
et seq.

 

129. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

130. By unfairly subjecting Raymond to command discipline for untimely submission
of a vacation request while two white officers were not disciplined for the same offense
and for subjection Raymond to unfair command discipline for failure to meet the
enforcement activity quota while a white officer with the same or a lower level of quota
compliance was not punished in any way, defendant Tsachas purposefully and
intentionally discriminated against Raymond on the basis of race and national origin, and
thus defendant Tsachas violated the rights of plaintiff Raymond under New York City’s
human rights law, to be free from racial discrimination.

131. Asaresult of this violation, plaintiff Raymond is entitled to compensatory

damages, punitive damages, and an award of attorney’s fees.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 38 of 53

4" Cause of Action: Sandy Gonzalez against Christopher McCormack
for Discrimination in Violation of The Civil Rights Act of 1866;The

14 Amendment to the United States Constitution; 42 U.S.C. Section
1981; 42 U.S.C. Section 1983 and 42 U.S.C. Section 1985

132. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

133. By unfairly subjecting Gonzalez to low performance ratings and designation to
the Performance Monitoring Program defendant McCormack purposefully and
intentionally discriminated against Gonzalez on the basis of race and national origin, and
thus violated the rights of Plaintiff Gonzalez under the equal protection clause of the 14"
Amendment and under 42 U.S.C. Section 1981, to be free from racial discrimination.
134. As aresult of this violation, plaintiff's Sandy Gonzalez is entitled to

compensatory damages, punitive damages, and an award of attorney's fees.

5 Cause of Action: Sandy Gonzalez against Christopher McCormack
for Discrimination in Violation of The New York States human rights

law

135. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

136. By unfairly subjecting Gonzalez to low performance ratings and designations to
the Performance Monitoring Program, defendant McCormack purposefully and
intentionally discriminated against Gonzalez on the basis of race and national origin, and
thus defendant McCormack violated the rights of plaintiff Gonzalez under New York
State’s Human Rights Law to be free from racial discrimination.

137. Asa result of this violation, plaintiff Gonzalez is entitled to compensatory

damages, punitive damages and an award of attorney’s fees.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 39 of 53

6" Cause of Action: Sandy Gonzalez against Christopher
McCormack for discrimination in violation of New York City’s Human

Rights Law, Local Law 59 of 1986, as amended by Local Rule 39 of
1991, §§ 8-101, et seq.

138. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

139. By unfairly subjecting Gonzalez to low performance ratings and designations to
the Performance Monitoring Program, defendant McCormack purposefully and
intentionally discriminated against Gonzalez on the basis of race and national origin, and
thus defendant McCormack violated the rights of plaintiff Gonzalez under New York
City’s human rights law, to be free from racial discrimination.

140. As aresult of this violation, plaintiff Gonzalez is entitled to compensatory

damages, punitive damages, and an award of attorney’s fees.

7" Cause of Action: Ritchie Baez against Christopher McCormack for

Discrimination in Violation of The Civil Rights Act of 1866;The 14"
Amendment to the United States Constitution; 42 U.S.C. Section 1981;

42 U.S.C. Section 1983 and 42 U.S.C. Section 1985

 

141. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

142. By unfairly subjecting Baez to low performance ratings and designation to the
Performance Monitoring Program defendant McCormack purposefully and intentionally
discriminated against Baez on the basis of race and national origin, and thus violated the
rights of Plaintiff Baez under the equal protection clause of the 14° Amendment and
under 42 U.S.C. Section 1981, to be free from racial discrimination.

143. As aresult of this violation, plaintiff's Ritchie Baez is entitled to compensatory

damages, punitive damages, and an award of attorney’s fees.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 40 of 53

8" Cause of Action: Ritchie Baez against Christopher McCormack for
Discrimination in Violation of The New York States human rights law

144, All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

145. By unfairly subjecting Baez to low performance ratings and designations to the
Performance Monitoring Program, defendant McCormack purposefully and intentionally
discriminated against Baez on the basis of race and national origin, and thus defendant
McCormack violated the rights of plaintiff Baez under New York State’s Human Rights
Law to be free from racial discrimination.

146. Asa result of this violation, plaintiff Baez is entitled to compensatory damages,

punitive damages and an award of attorney’s fees.

9" Cause of Action: Ritchie Baez against Christopher
McCormack for discrimination in violation of New York City’s Human

Rights Law, Local Law 59 of 1986, as amended by Local Rule 39 of
1991, §§ 8-101, et seq.

147. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

148. By unfairly subjecting Baez to low performance ratings and designations to the
Performance Monitoring Program, defendant McCormack purposefully and intentionally
discriminated against Baez on the basis of race and national origin, and thus defendant
McCormack violated the rights of plaintiff Baez under New York City’s human ri ghts
law, to be free from racial discrimination.

149. As aresult of this violation, Ritchie Baez is entitled to compensatory damages,

punitive damages and an award of attorney’s fees.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 41 of 53

10 Cause of Action: By Pedro Serrano against Christopher
McCormack For Discrimination in Violation of the Civil Rights Act of
1866; The 14" Amendment to the United States Constitution, 42

U.S.C. Sections 1981, 1983 and 1985.

150. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

152. By unfairly giving Serrano a negative performance rating, defendant McCormack
purposefully and intentionally discriminated against Serrano on the basis of race and
national origin, and thus violated the rights of Plaintiff Serrano under the equal protection
clause of the 14'" Amendment and under 42 U.S.C. Section 1981, to be free from racial
discrimination.

153. As aresult of this violation, plaintiffs Pedro Serrano is entitled to compensatory

damages, punitive damages, and an award of attorney’s fees.

11 Cause of Action: Pedro Serrano against Christopher McCormack
for Discrimination in Violation of The New York States human rights

law

154. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

155. By unfairly giving Serrano a negative performance rating, defendant McCormack
purposefully and intentionally discriminated against Serrano on the basis of race and
national origin, and thus defendant McCormack violated the rights of plaintiff Serrano
under New York State’s Human Rights Law to be free from racial discrimination.

156. As aresult of this violation, plaintiff Serrano is entitled to compensatory damages,

punitive damages and an award of attorney’s fees.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 42 of 53

12" Cause of Action: Pedro Serrano against Christopher

McCormack for discrimination in violation of New York City’s Human

Rights Law, Local Law 59 of 1986, as amended by Local Rule 39 of
1991, §§ 8-101, et seq.

157. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

158. By unfairly giving Serrano a negative performance rating, defendant McCormack
purposefully and intentionally discriminated against Serrano on the basis of race and
national origin, and thus defendant McCormack violated the rights of plaintiff Serrano
under New York City’s human rights law, to be free from racial discrimination.

159. As a result of this violation, plaintiff Serrano is entitled to compensatory damages

>

punitive damages and an award of attorney’s fees.

13 Cause of Action: Sandy Gonzalez against Christopher McCormack

For Retaliation Regarding a Discrimination Complaint made on
September 7, 2015, in Violation of The Civil Rights Act of 1866:The

14" Amendment to the United States Constitution; 42 U.S.C. Section
1981; 42 U.S.C. Section 1983 and 42 U.S.C. Section 1985

160. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

161. By unfairly issuing a CD to Gonzalez on October 10, 2015, finding Gonzalez
guilty on of the charge on the CD without providing him with an opportunity to defend
himself, and issuing two underserved minor violations to Gonzalez, McCormack
purposefully and intentionally retaliated against Gonzalez for filing a discrimination
complaint, and thus violated the rights of Plaintiff Gonzalez under the equal protection
clause of the 14'" Amendment and under 42 U.S.C. Section 1981, to be free from such

retaliation.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 43 of 53

162. As aresult of this violation, plaintiff's Sandy Gonzalez is entitled to

compensatory damages, punitive damages, and an award of attorney’s fees.

14‘ Cause of Action: Sandy Gonzalez against Christopher McCormack
for Retaliation Regarding a Complaint of Discrimination Made on
September 7, 2015, in Violation of The New York State’s Human

Rights Law

163. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

164. By unfairly issuing a CD to Gonzalez on October 10, 2015, finding Gonzalez
guilty on of the charge on the CD without providing him with an opportunity to defend
himself, and issuing two underserved minor violations to Gonzalez, McCormack
purposefully and intentionally retaliated against Gonzalez for filing a discrimination
complaint, and thus violated the rights of Plaintiff Gonzalez under New York State’s
Human Rights Law.

165. As aresult of this violation, plaintiff Gonzalez is entitled to compensatory

damages, punitive damages and an award of attorney’s fees.

15" Cause of Action: Sandy Gonzalez against Christopher
McCormack for Retaliation Regarding a Complaint of Discrimination
Made on September 7, 2015, in violation of New York City’s Human

Rights Law, Local Law 59 of 1986, as amended by Local Rule 39 of
1991, §§ 8-101, et seq.

166. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

167. By unfairly issuing a CD to Gonzalez on October 10, 2015, finding Gonzalez
guilty on of the charge on the CD without providing him with an opportunity to defend

himself, and issuing two underserved minor violations to Gonzalez, McCormack
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 44 of 53

purposefully and intentionally retaliated against Gonzalez for filing a discrimination
complaint, and thus violated the rights of Plaintiff Gonzalez under New York City’s
Human Rights Law.

168. As a result of this violation, plaintiff Gonzalez is entitled to compensatory

damages, punitive damages, and an award of attorney’s fees.

16 Cause of Action: Pedro Serrano against Christopher McCormack
For Retaliation Regarding a Discrimination Complaint made on June

1, 2012, in Violation of The Civil Rights Act of 1866:The 14"
Amendment to the United States Constitution: 42 U.S.C. Section 1981:
42 U.S.C. Section 1983 and 42 U.S.C. Section 1985

SAE hee DOCH ON 1765 and 42 U.S.C. Section 1985
169. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

170. By removing Serrano from his usual patrol assignment, and re-assigning him to a
fixed foot post, sending him outside the precinct on details, ransacking his locker and
pasting stickers of rats to his locker, denying him leave despite his proper requests of
days off in the usual manner, and giving him an unfair 3.0 out of 5.0 performance
evaluation rating for the 2012 annual period, defendant McCormack intentionally and
purposefully retaliated against Serrano for filing a discrimination complaint, and thus
violated the rights of Plaintiff Serrano under the equal protection clause of the 14"
Amendment and under 42 U.S.C. Section 1981 and 42 U.S.C. Section 1983, to be free
from such retaliation.

171. As aresult of this violation, plaintiff's Pedro Serrano is entitled to compensatory

damages, punitive damages, and an award of attorney’s fees.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 45 of 53

17" Cause of Action: Pedro Serrano against Christopher McCormack

for Retaliation Regarding a Complaint of Discrimination Made on
June 1, 2012, in Violation of The New York State’s Human Rights Law

 

172. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

173. By removing Serrano from his usual patrol assignment, and re-assigning him to a
fixed foot post, sending him outside the precinct on details, ransacking his locker and
pasting stickers of rats to his locker, denying him leave despite his proper requests of
days off in the usual manner, and giving him an unfair 3.0 out of 5.0 performance
evaluation rating for the 2012 annual period, defendant McCormack intentionally and
purposefully retaliated against Serrano for filing a discrimination complaint, and thus
violated the rights of Plaintiff Serrano under New York State’s Human Rights Law, to be
free from such retaliation.

174. As aresult of this violation, plaintiff Serrano is entitled to compensatory damages,

punitive damages and an award of attorney’s fees.

18 Cause of Action: Pedro Serrano against Christopher
McCormack for Retaliation Regarding a Complaint of Discrimination

Made on June 1, 2012, in violation of New York City’s Human Rights

Law, Local Law 59 of 1986, as amended by Local Rule 39 of 1991, §§

8-101, et seq.

175. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

176. By removing Serrano from his usual patrol assignment, and re-assigning him to a
fixed foot post, sending him outside the precinct on details, ransacking his locker and

pasting stickers of rats to his locker, denying him leave despite his proper requests of
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 46 of 53

days off in the usual manner, and giving him an unfair 3.0 out of 5.0 performance
evaluation rating for the 2012 annual period, defendant McCormack intentionally and
purposefully retaliated against Serrano for filing a discrimination complaint, and thus
violated the rights of Plaintiff Serrano under New York City’s Human Rights Law, to be
free from such retaliation.

177. As aresult of this violation, plaintiff Serrano is entitled to compensatory damages,

punitive damages and an award of attorney’s fees.

19 Cause of Action: Edreweene Raymond against Constantin Tsachas

for Retaliation in Violation of The 1°*‘ Amendment to the United States
Constitution for Protected Speech made on November 22, 2014

178. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

179. By unfairly passing Raymond over for promotion, reducing his performance
evaluation score, assigning him to a punitive posting, and giving him underserved failing
and low evaluation scores from November 2014 to January 2015 and continuing,
defendant Tsachas retaliated against Raymond, in violation Raymond’s rights under the
1 Amendment to the United States Constitution.

180. As aresult of this violation, plaintiff's Edreween Raymond is entitled to

compensatory damages, punitive damages, and an award of attorney's fees.

20 Cause of Action: Edreweene Raymond against Constantin Tsachas

for Retaliation, in Violation of New York State’s Human Rights Law

for Protected Speech made on November 22, 2014

181. All previous allegations of this Complaint are incorporated herein as if fully set

forth below.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 47 of 53

182. By unfairly passing Raymond over for promotion, reducing his performance
evaluation score, assigning him to a punitive posting, and giving him underserved failing
and low evaluation scores from November 2014 to January 2015 and continuing,
defendant Tsachas retaliated against Raymond, in violation of Raymond’s rights under
New York State’s Human Rights Law.

183. As a result of this violation, plaintiff Raymond is entitled to compensatory

damages, punitive damages and an award of attorney’s fees.

21*t Cause of Action: Raymond against Tsachas for retaliation,
in Violation of New York City’s Human Rights Law, Local Law 59 of

1986, as amended by Local Rule 39 of 1991, §§ 8-101, et seq.

184. All previous allegations of this Complaint are incorporated herein as if fully set

 

forth below.

185. By unfairly passing Raymond over for promotion, reducing his performance
evaluation score, assigning him to a punitive posting, and giving him underserved failing
and low evaluation scores from November 2014 to January 2015 and continuing,
defendant Tsachas retaliated against Raymond, in violation of Raymond’s rights under
New York City’s Human Rights Law.

186. Asa result of this violation, plaintiff Raymond is entitled to compensatory

damages, punitive damages, and an award of attorney’s fees.

22"! Cause of Action: By Sandy Gonzalez against The City of New
York, William J. Bratton, James O’ Neill, and Christopher

McCormack, for Retaliation in Violation of The 1°* Amendment to the

United States Constitution, for Protected Speech made beginning on or
about February 6, 2014

187. All previous allegations of this Complaint are incorporated herein as if fully set

forth below.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 48 of 53

188. By labeling Gonzalez a “rat” who was recording everyone in the precinct, falsely
accusing him of recording his supervisor Sergeant Tameika Goode, informing the entire
40"" Precinct that Gonzalez was the person who had complained about corruption in the
precinct leading to an official investigation, issuing two CD’s to Gonzalez without giving
him an opportunity to defend himself, denying Gonzalez a line of duty designation after
he fainted during roll call and destroying necessary paperwork in order to achieve this
denial, unfairly issuing Gonzalez with two minor violations, all beginning on or about
May 2015, defendant’s the City of New York, Bratton, O’Neill and McCormack,
intentionally retaliated against Gonzalez’s for protected speech, in violation of
Gonzalez’s rights under the 1‘ Amendment to the United States Constitution.

189. As aresult of this violation, plaintiff's Sandy Gonzalez is entitled to

compensatory damages, punitive damages, and an award of attorney’s fees.

23° Cause of Action: B Sandy Gonzalez against The City of New
York, William J. Bratton, James O’Neill and Christopher

McCormack, for Retaliation, in Violation of New York State’s Human

Rights Law, for Protected Speech made beginning from on or about

February 6, 2014

190. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

191. By labeling Gonzalez a “rat” who was recording everyone in the precinct, falsely
accusing him of recording his supervisor Sergeant Tameika Goode, informing the entire
40" Precinct that Gonzalez was the person who had complained about corruption in the
precinct leading to an official investigation, issuing two CD’s to Gonzalez without giving

him an opportunity to defend himself, denying Gonzalez a line of duty designation after
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 49 of 53

he fainted during roll call and destroying necessary paperwork in order to achieve this
denial, unfairly issuing Gonzalez with two minor violations, all beginning on or about
May 2015, defendant’s the City of New York, Bratton, O’Neill and McCormack,
intentionally retaliated against Gonzalez’s for protected speech in violation of Gonzalez’ s
rights under New York State’s Human Rights Law.

192. As aresult of this violation, plaintiff Sandy Gonzalez is entitled to compensatory

damages, punitive damages and an award of attorney’s fees.

24" Cause of Action: By Sandy Gonzalez against The City of
New York, William J. Bratton, James O’Neill, and Christopher

McCormack, For Retaliation in Violation of New York City’s Human

Rights Law, Local Law 59 of 1986, as amended by Local Rule 39 of
1991, §§ 8-101, et seq, regarding protected Speech made beginning on

or about February 6, 2014

193. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

194. By labeling Gonzalez a “rat” who was recording everyone in the precinct, falsely
accusing him of recording his supervisor Sergeant Tameika Goode, informing the entire
40" Precinct that Gonzalez was the person who had complained about corruption in the
precinct leading to an official investigation, issuing two CD’s to Gonzalez without giving
him an opportunity to defend himself, denying Gonzalez a line of duty designation after
he fainted during roll call and destroying necessary paperwork in order to achieve this
denial, unfairly issuing Gonzalez with two minor violations, all beginning on or about
May 2015, defendant’s the City of New York, Bratton, O’Neill and McCormack,
intentionally retaliated against Gonzalez’s for protected speech in violation of Gonzalez’s

rights under New York City’s Human Rights Law.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 50 of 53

195. As aresult of this violation, plaintiff Gonzalez is entitled to compensatory
damages, punitive damages, and an award of attorney’s fees.

25'" Cause of Action: B Pedro Serrano against Christopher
McCormack, for Retaliation in Violation of The 1° Amendment to the

United States Constitution, for Protected Speech made beginning on or

about June 1, 2012 and March 2013

196. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

197. By re-assigning Serrano from his usual patrol assignment to a solitary fixed foot
post, inspections by multiple supervisors during a single shift, sending him outside the
precinct on details, denying proper leave requests, and punitively transferring Serrano to
another precinct where he was assigned to the day tour and lost his night differential pay,
all beginning on or about February 7, 2013, defendant McCormack, intentionally
retaliated against Serrano for protected speech, in violation of Serrano’s rights under the
1“ Amendment to the United States Constitution.

198. As a result of this violation, plaintiff Serrano is entitled to compensatory damages,

punitive damages, and an award of attorney’s fees.

26" Cause of Action: By Pedro Serrano against Christopher

McCormack, for Retaliation, in Violation of New York State’s Human
Rights Law, for Protected Speech made beginning from on or about

June 1, 2012 and March 2013

199. All previous allegations of this Complaint are incorporated herein as if fully set

forth below.
200. By re-assigning Serrano from his usual patrol assignment to a solitary fixed foot

post, inspections by multiple supervisors during a single shift, sending him outside the
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 51 of 53

precinct on details, denying proper leave requests, and punitively transferring Serrano to
another precinct where he was assigned to the day tour and lost his night differential pay,
all beginning on or about February 7, 2013, defendant McCormack, intentionally
retaliated against Serrano for protected speech, in violation of Serrano’s rights under
New York State’s Human Rights Law.

201. Asa result of this violation, plaintiff Serrano is entitled to compensatory damages,

punitive damages and an award of attorney’s fees.

27'" Cause of Action: By Pedro Serrano against Christopher

McCormack, For Retaliation in Violation of New York Cit °s Human

Rights Law, Local Law 59 of 1986, as amended by Local Rule 39 of

1991 8-101, et seq, regarding protected Speech made beginning on
or about June 1, 2012 and in March 2013

202. All previous allegations of this Complaint are incorporated herein as if fully set
forth below.

203. By re-assigning Serrano from his usual patrol assignment to a solitary fixed foot
post, inspections by multiple supervisors during a single shift, sending him outside the
precinct on details, denying proper leave requests, and punitively transferring Serrano to
another precinct where he was assigned to the day tour and lost his night differential pay,
all beginning on or about February 7, 2013, defendant McCormack, intentionally
retaliated against Serrano for protected speech, in violation of Serrano’s rights under
New York City’s Human Rights Law.

204. As a result of this violation, plaintiff Serrano is entitled to compensatory damages,

punitive damages, and an award of attorney’s fees.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 52 of 53

WHEREFORE, Plaintiffs, pray that the Court will:
1). Award compensatory damages to the plaintiffs against the defendants for the
unlawful negative employment actions taken against them including loss of benefits, loss
of earned time off, loss of upgrades and promotions, and loss of overtime.
2). Issue an order for damages requiring the defendants to reimburse and make
whole, the plaintiffs for any and all benefits they would have received had it not been for
defendant’s illegal actions including, back pay with interest, benefits and seniority from
the time of the Defendant’s illegal actions taken against them.
3). Issue an order for an award of compensatory damages to the plaintiffs for the
pain, suffering, emotional distress, loss of dignity, humiliation and damages to reputation
and livelihood endured by the plaintiffs in amounts that are fair, just and reasonable, to be
determined at trial;
4). Awards of compensatory damages to plaintiffs Raymond, Serrano, and Gonzalez,
for violations of their rights to free speech pursuant to the First Amendment of the United
States and pursuant to the Article 1, §8 of the New York State Constitution.
5). An award of punitive damages to plaintiffs against all defendants except the City
of New York in an amount to be determined at trial.
6). Award plaintiffs all costs of this action and reasonable attorneys’ fees, as

provided for in 42 U.S.C. § 1988 and 42 U.S.C. § 1920.
Case 1:15-cv-06885-LTS-SLC Document 87 Filed 07/11/18 Page 53 of 53

New York, New York
July 11, 2018

    

NWOKORO & SCOLA, ESQUI i
(ACh

By: /S/
Chukwuemeka Nwokoro. (C
30 Broad Street — Suite 1424
New York, New York 10004 \
(212) 785-1060

Se EP

   
 
